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IN TI'lE UNITED STATES DISTRICT COURT FOR THE

 

 

 

 

 

 

 

 

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EASTERN DISTRICT oF vIRGINlA "'"9-"-€" C°‘”"
Alexandria Division .EG l 2 mm
UNITED sTATEs 0F AMERICA ' UNDER’ sEAL °Li“t§xiwso§l'/YT 51'§§1§?1"“
V' Case No. l:lS-CR-457 (AJT.),
BIJAN RAFIEKIAN, et al.,
Defendants

 

GOVERNMENT’S MOTION TO SEAL [NDICTMENT

`PURSUANT TO LOCAL RULE 491 B[ AND MOTION FOR OTHER RELIEF

'[lre United States, by and through undersigned counsel, pursuant to Local Rule 49(B) of
the Local Criminal Rules for the United States District Court for the Eastern District of.Virginia,
asks for an order to seal the indictment until the first defendant’s initial appearance We expect
this to be defendant Bijan RaHekian.

I. REASONS FOR SEALING (Local Rule 49(B)(l))

l. The Federal Bureau of Investigation is investigating Bijan Raiiekian and Kamil¢
Ekim Alptekin for violating and conspiring to violate 18 U.S.C. § 951 (Acting as an Agent of a
Foreign Government) and related violations of 22 U.S.C. § 618(a)(2) (Foreign Agents l
Registration Act, False Statements and Omissions) and 18 U.S.C. § 1001 (False Statements).

2. Because we do not currently have reason to believe that Rafiekian poses a serious
risk of ilight, we are seeking a summons for Raiiekian rather than an arrest warrant. Once
Raiiekian makes his initial appearance, the government may seek conditions of release that will
ensure his presence at trial. Before then, however, we plan to insist that`he surrender his
passport to the FBI immediately To that end, we ask that the Court allow the government to

notify Rafiekian’s counsel and_Rafiekian of the indictment so that we can instruct Ratiekian to
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immediately surrender his passport We Will also instruct the defense attorney that the matter is
under seal and that neither he nor his client may reveal to anyone that an indictment has been
returned Sealing of the indictment remains necessary because in the event that Ra;fiekian
should abscond, premature disclosure of the specific allegations and charges against the
defendants Would threaten our ability to locate and arrest the defendants and may lead to the
destruction of evidence. Disclosure of the indictment before Raiiekian presents himself in the
Eastern District of Virginia would provide the defendants and others with a roadmap of the
ongoing criminal investigation, including the identity of potential witnesses

H. REFERENCES TO GOVERNING CASE LAW (Local Rule 49(B)(2))

3. The Court has the inherent power to seal indictments See Um'ted Staz‘es v.
Wuagneux, 683 F.2d 1343, 1351 (l lth Cir. 1982); State ofArizona v. Maypenny, 672 F.2d 761,
765 (9th Cir. 1982); Tz`mes Mirror Company v. United States, 873 F.2d 1210 (9th Cir. 1989); see
also Shea v. Gabriel, 520 F.2d 879 (lst Cir. 1975); United States v. Hubbara’, 650 F.2d 293l
4 (D.C. Cir. 1980); In re Braughton, 520 f2d 765, 766 (9th Cir. 1975). “The trial court has
supervisory power over its own records and may, in its discretion, seal documents if the public’s
' right of access is outweighed by competing interests." In re Km'ght Pub. Co., 743 F.2d 231, 235
(4th Cir. 1984). Sealing the indictment is appropriate Where there is a substantial probability
that the release of the sealed documents would compromise the government's on-going
investigation severely. See e.g., In re Search Warrantfor Secretarial Area Outsz'de Oj'ice of

Gunn, 855 F.2d 569, 574 (Sth Cir. 1988); Matter of Eye Care Physicz`ans of America, 100 F.3d

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514, 518 (7th Cir. 1996); Matter of Flower Aviation of Kansas, Inc., 789 F.Supp. 366 (D. Kan.

1992).

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UNDER sEAL (Locai sure 49(13)(3))

4. The indictment would need to remain sealed until the first defendant makes an
initial appearance We assume that this will be Rafiekian. Upon Rafiek.ian’s appearance,
pursuant to Local Rule 49(B)(3), the sealed materials will be automatically unsealed and handled
as such. `

5. The United States has considered alternatives less drastic than sealing and has
found none that would suffice to protect this investigation The United States will move to
unseal the documents before they are set to become automatically unsealed if it determines that
circumstances warrant such action.

WHEREFOR_E, the United States respectfully requests that the indictment and this
motion to seal and proposed order be sealed until the first defendant makes his initial appearance
in the Eastern District of Virginia.

l Respectfully submitted,

G. Zachary Terwilliger

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